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                          UNITED STATES BANKRUPTCY COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE:                                                   (   Bankruptcy No. 17-23925-TPA
                                                         (
JOHNSON, RONALD A                                        (
                                                         (   Adversary No. 19-02144-TPA
                               Debtors                   (
                                                         (   Chapter 7
ROSEMARY C. CRAWFORD, Trustee                            (
for the Bankruptcy Estate of                             (   Doc. No.
RONALD A. JOHNSON,                                       (
                                                         (
                               Plaintiff,                (
               vs.                                       (
                                                         (
RONALD A. JOHNSON,                                       (
ERICA FRASER-JOHNSON,                                    (
Commonwealth of Pennsylvania                             (
Department of Revenue, US Department                     (
of Treasury, New York State Attorney                     (
General’s Office, Wells Fargo Home                       (
Mortgage, New York State Department                      (
of Taxation & Finance, and NYC                           (
Department Environmental Control                         (
Board,                                                   (
                                                         (
                               Defendants.               (

                           TRUSTEE’S MOTION FOR ADDITIONAL
                       TIME TO CLOSE ON REAL ESTATE TRANSACTION
       AND NOW comes Rosemary C. Crawford, Chapter 7 Trustee for the Bankruptcy Estate,

   by and through the law firm of Crawford McDonald, LLC, and files Trustee’s Motion for

   Additional Time to Close on the Sale of Real Estate Transaction as follows:

   1) Debtor filed for relief under Chapter 11 of the Bankruptcy Code on 09/29/2017.

   2) This matter was converted to a Chapter 7 on 05/16/2018.

   3) Rosemary C. Crawford was appointed and qualified as the Trustee upon the conversion

       of this case.


Trustee Johnson, Ronald Mot to Extend time for closing
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   4) This Honorable Court has jurisdiction pursuant to 28 U.S.C. §157.

   5) This is a core proceeding within the meaning of 28 U.S.C. §157.

   6) On 07/23/2019, Trustee filed an AMENDED COMPLAINT TO SELL DEBTORS AND

      NON-DEBTORS INTEREST IN REAL PROPERTY FREE AND DIVESTED OF

      LIENS at Adversary Case No. 19-02144-TPA.

   7) The Debtor’s spouse, Erica Fraser-Johnson, was a co-owner who still resides on the real

      estate being sold.

   8) On 10/03/2019, at docket number 18, the Court approved Trustee’s Amended Complaint

      to sell certain property located at 311 Eastern Parkway, Brooklyn, NY 11238 allowing

      thirty (30) days to close on the real estate transaction.

   9) Said Order provided the Trustee with the opportunity to extend the sale deadline, which

      time has now expired.

   10) There have been several complex issues, which arose during the closing process that

      require an additional extension of time – specifically, the Debtor’s spouse, Erica Fraser-

      Johnson, has yet to vacate the property. The Trustee believes that an additional forty-five

      (45) days is necessary in order for Erica Fraser-Johnson to vacate the property, and that

      the transaction will properly close if the additional time is granted.

   11) The extension of time is in the best interest of the Estate because resolving all issues will

      avoid undue liability.

   12) The Trustee believes that the buyer, Harpia Asset Management LLC, has acted in good

      faith.




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      WHEREFORE, the Trustee prays that time to close on real estate be extended to by 45

      days.




   Dated: December 18, 2019

                                                  Respectfully submitted,
                                                  /s/Rosemary C. Crawford
                                                  Rosemary C. Crawford, Trustee
                                                  Crawford McDonald, LLC
                                                  P.O. Box 355
                                                  Allison Park, PA 15101
                                                  Pa. I.D. No. 56981
                                                  (724) 443-4757
                                                  crawfordmcdonald@aol.com




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